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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION
UNITED STATES OF AMERICA

       VS                                                   CASE NO.    3:06cv543 LAC/MD

WARD DEAN

                                    REFERRAL AND ORDER

Referred to Magistrate Judge Davis on    September 27, 2007
Type of Motion/Pleading: MOTION TO RECONSIDER DENIAL OF DEFENDANT’S
THREE MOTIONS TO DISMISS (and Combined Response to Plaintiff’s
Consolidated Opposition to Motions to Dismiss)
Filed by: Defendant              on 9/26/07       Document 37
( ) Stipulated/Consented/Joint Pleading
RESPONSES:
                                 on               Doc.#
                                 on               Doc.#
                                 WILLIAM M. McCOOL, CLERK OF COURT

                                               /s/ Lynn C. Uhl
                                               Deputy Clerk: Lynn Uhl

                                               ORDER
Upon consideration of the foregoing, it is ORDERED this 28th day of
September, 2007, that:
(a)    The motion to reconsider is DENIED.
(b)    The motion for summary judgment is under advisement.



                                               /s/   Miles Davis
                                               MILES DAVIS
                                               UNITED STATES MAGISTRATE JUDGE




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                                Document No.
